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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY



  SANDOZ INC. and RAREGEN, LLC           Case No. 19-cv-10170-BRM-LHG

              Plaintiffs,

        v.                                    PLAINTIFFS’ CLOSING
                                            STATEMENT IN SUPPORT OF
  UNITED THERAPEUTICS CORP. and             PRELIMINARY INJUNCTION
  SMITHS MEDICAL ASD, INC.

              Defendants.
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       Plaintiffs Will Succeed on the Merits. The material facts are undisputed and

 confirm that Plaintiffs are likely to succeed on the merits:

       1.     Pumps and cartridges are not the same. This motion is only about
              cartridges because the unencumbered CADD MS-3 pumps outside of
              Defendants’ control are durable and available to patients using
              Plaintiffs’ drug. Mot. 5-6.

       2.     Prior to 2019, there were no restrictions on the use of cartridges by the
              specialty pharmacies, and the specialty pharmacies could purchase
              cartridges directly from Smiths. Donovan 43:1-11, 173:17-22 (there
              were no restrictions on the use of cartridges dispensed by Accredo prior
              to 2019); Benkowitz 26:8-19, 27:6-19 (same for CVS); Gencheff
              250:12-23 (same for Accredo and CVS, as of December 2018).

       3.     In late 2018, Defendants learned Plaintiffs’ entry was imminent and
              knew it threatened the Remodulin franchise. Ex. 459; Ex. 705 at #76.
              Only then did Defendants tell Accredo and CVS that they would be cut
              off from cartridges unless they agreed to only dispense cartridges to
              patients using Remodulin. Mot. 11–15.

       4.     To get access to cartridges and protect the severely ill patients
              Defendants were using as “negotiating leverage,” the specialty
              pharmacies signed new agreements in April and May 2019 that
              restricted their use of cartridges to only Remodulin. Ex. 725; Ex. 723.
              In addition, UTC and Smiths entered a new agreement in April 2019
              that made UTC the sole purchaser of cartridges. As a result, the
              specialty pharmacies now must obtain cartridges from UTC instead of
              from Smiths and can only dispense the cartridges for Remodulin.

       5.     The restraints are not medically necessary. Defendants’ sole purpose
              for them was “to prevent generic drug users” and “protect Remodulin
              from generic competition.” Mot. 16–17.

       6.     These restraints block Plaintiffs from competing with Remodulin for
              subcutaneous patients and impair competition with Remodulin for
              intravenous patients. Mot. 17–19.

       Defendants assert that, without the restraints, they “wouldn’t have the


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 [cartridges] here today to fight over” because they “wouldn’t have been produced.”

 Tr. 32:7-19. But that is not true. UTC agreed to buy the cartridges in July 2017, two

 years before the restraints blocking competition existed, and six months after Smiths

 purchased enough resin to serve the entire market until at least 2025 (i.e., after

 cartridge supply had already expanded). Moreover, UTC bought the cartridges at

 Smith’s regular prices, which other market participants (including Plaintiffs) would

 have accepted without any restraints. Walker 108:4-10.

       Plaintiffs Will Suffer Irreparable Injury in the Absence of an Injunction.

 Plaintiffs have shown “that [they are] more likely than not to suffer irreparable harm

 in the absence of preliminary relief.” Reilly v. City of Harrisburg, 858 F.3d 173,

 179 (3d Cir. 2017) (emphasis added). First, Plaintiffs have suffered and will

 continue to suffer “loss of control of reputation, loss of trade, and loss of good will.”

 Opticians Ass’n v. Indep. Opticians, 920 F. 2d 187, 195 (3d Cir. 1990); Rao Report,

 ECF 109, ¶ 104 (discussing harm to reputation and goodwill). Before the restraints

 and based on the availability of both cartridges and pumps, Plaintiffs promised the

 specialty pharmacies, payors, and prescribers that they would be able to serve all

 patients. Defendants blocked Plaintiffs from fulfilling that promise. But payors,

 prescribers and patients—which make the decisions to switch to generics (not the

 specialty pharmacies)—have no idea that Plaintiffs’ inability to supply the market is

 because of Defendants. Even if they did, the primary concern of payors, prescribers,



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 and patients is whether a generic will be reliably available for use by the patient. To

 them, there is no difference between the uncertainty created by Plaintiffs’ inability

 to reach subcutaneous patients and the supply issues that caused generic Flolan to

 fail. Ex. 1016 at 6; Ex. 1017 at 12; Jeffs 155:18-21, 163:6-164:7.

       Second, the restraints have denied and continue to deny Plaintiffs some of the

 “unique, non-replicable business opportunity” inherent in their first-to-file rights.

 See URL Pharma, Inc. v. Reckitt Benckiser Inc., 2016 WL 1592695, at *10 (E.D. Pa.

 Apr. 20, 2016) (finding irreparable harm where plaintiffs “denied” chance to

 “become the generic supplier” at “a time when there are few alternative providers”).

 The restraints are precluding Plaintiffs from maximizing their ability to penetrate the

 market and “attract subcutaneous patients,” so Plaintiffs are losing the advantages

 of seeding the market as the first generic. See Rao Report, ¶ 104. And if Defendants

 block generic entry until UTC can switch patients to their new, proprietary pumps,

 then Plaintiffs will lose the benefit of “stickiness”—where patients choose to stay

 on generic—because Plaintiffs will have not yet had a chance to penetrate the

 market. Id. ¶ 103. That means Plaintiffs may never be able to quantify the full extent

 of their ongoing injury. See Novartis Consumer Health, Inc. v. Johnson & Johnson-

 Merck Consumer Pharm. Co., 290 F.3d 578, 596 (3d Cir. 2002) (“[L]oss of market

 share is a potential harm which cannot be redressed . . . following a trial.”).

       Third, “irreparable damage exists here because of the high probability that



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 [RareGen and Sandoz] will cease to be an effective competitor in . . . product markets

 of vital interest to the nation’s economy . . . .” Grumman Corp. v. LTV Corp., 665

 F.2d 10, 16 (2d Cir 1981). In the near future, Defendants’ restraints will cause

 RareGen to lose employees and possibly abandon the market altogether. See Jeffs

 195:12-196:7 (RareGen is already short on cash and treprostinil is its only product).

       Defendants argue Plaintiffs should have fixed the problems caused by the

 secret restraints. But (1) the cartridge restraints did not exist until 2019; (2) Smiths

 told the specialty pharmacies in 2017 that cartridges would be available until 2025,

 Mot. 38; (3) until late 2018, the specialty pharmacies told Plaintiffs that they could

 access cartridges, Mot. 39; and (4) Smiths did not issue an end-of-life notice for

 cartridges until 2019, Mot. 13. Defendants hope to obscure these facts by conflating

 pumps and cartridges. But this motion has nothing to do with pumps—it is about

 cartridges. And only when Plaintiffs were poised to begin taking Defendants’

 business in 2019 did Defendants restrict cartridges and suppress competition.

       Absent an Injunction, the Public Will Be Irreparably Harmed.

 “Consideration of the public interest is particularly appropriate in the context of a

 private antitrust suit where injunctive relief is sought.” Bascom Food Prod. Corp.

 v. Reese Finer Foods, Inc., 715 F. Supp. 616, 640 (D.N.J. 1989). If “the public

 interest [is] directly affected,” this Court may “go much farther” in exercising its

 equitable powers than “when only private interests are involved.” Instant Air



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 Freight Co. v. C.F. Air Freight, Inc., 882 F.2d 797, 803 (3d Cir. 1989). “This is

 especially the case where the public interest in question has been formalized in a

 statute,” id., as it is here, in both the Hatch-Waxman Act and the federal antitrust

 laws. See F.T.C. v. Actavis, Inc., 570 U.S. 136, 142 (2013) (Hatch-Waxman allows

 “the generic to piggyback on the pioneer’s approval efforts, speeds the introduction

 of low-cost generic drugs to market,” and “further[s] drug competition.”); Tasty

 Baking Co. v. Ralston Purina, Inc., 653 F. Supp. 1250, 1276 (E.D. Pa. 1987) (issuing

 preliminary injunction on competitor’s antitrust claim based on “a compelling public

 interest in minimizing defendants’ ability to extract monopoly profits”). Patients,

 payors, prescribers, and the public are hurt by Defendants’ anticompetitive conduct.

       Defendants Will Not Be Irreparably Injured by an Injunction. Defendants

 argue that the restraints are necessary to prevent a shortage of cartridges and serve

 “their patients.” But there are enough cartridges available to serve the entire market

 until at least 2025. Mot. 34, 38. And for every patient who switches to generic

 treprostinil, Defendants will not need cartridges. That means Defendants will be

 able to serve all patients who choose Remodulin until 2025—with or without an

 injunction. UTC “will remain free to market and promote” Remodulin “so long as

 [consumers] are given the choice of whether or not to accept the product.” U.S. v.

 Microsoft Corp., 980 F. Supp. 537, 544 (D.D.C. 1997). Thus, the only “harm” facing

 Defendants comes from competition, and that harm should be disregarded.



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 Dated: December 17, 2019     Respectfully submitted,

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